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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 MIGUEL COCA, ALEJANDRO RANGEL-
 LOPEZ,

               Plaintiffs,

               v.

 CITY OF DODGE CITY, a municipal
 corporation, the DODGE CITY
                                                   Case No. 6:22-cv-01274-EFM-RES
 COMMISSION, E. KENT SMOLL, in his
 official capacity as Mayor of Dodge City,
 MICHAEL BURNS, in his official capacity
 as Vice-Mayor of Dodge City, RICK
 SOWERS, in his official capacity as a
 member of the Dodge City Commission,
 CHUCK TAYLOR, in his official capacity as
 a member of the Dodge City Commission,
 and JOSEPH NUCI, in his official capacity as
 a member of the Dodge City Commission,

                Defendants.


                              JOINT NOTICE OF MEDIATION

       To comply with the Court’s order concerning notice of mediation: A Settlement

Conference is set for February 8, 2023, at 9:00 a.m. at 7500 College Boulevard, Suite 1400,

Overland Park, Kansas, before the following mediator:

       Hon. Deanell Tacha (Ret.).
       JAMS
       71 S. Wacker Drive
       Suite 2400
       Chicago, IL 60606
       314-334-5267
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Respectfully Submitted,


AMERICAN CIVIL LIBERTIES                       FOULSTON SIEFKIN LLP
UNION OF KANSAS                                /s/ Anthony F. Rupp
/s/ Sharon Brett                               Anthony F. Rupp, KS #11590
Sharon Brett KS 28696                          7500 College Boulevard, Suite 1400
P.O. Box 917 Mission, KS 66201                 Overland Park, Kansas 66210
sbrett@aclukansas.org                          trupp@foulston.com
913-490-4100                                   (913) 498-2100

Attorney for the Plaintiffs                    Attorney for the Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of January, 2023, I electronically filed the foregoing

with the Clerk by using the CM/ECF system which will send a notice of electronic filing to all

counsel of record.

                                             /s/ Sharon Brett
                                             Sharon Brett




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